       Case 8:21-cv-01382-CJC-KES Document 15 Filed 10/19/21 Page 1 of 1 Page ID #:49
Joseph Bakhos Esq,
State Bar Number: 327036
17221 E. 17th St., Ste #F
Santa Ana, CA 92705
Telephone: [714]-617-5868
Email Address: jbakhoslaw@yahoo.com
Attorney for Plaintiff
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 ADAM GHADIRI                                                       CASE NUMBER

                                                                          8:21-cv-01382-CJC-KES
                                                    Plaintiff(s),
                                 v.
 BUENA PARK DENTAL, a business entity; PETER                               NOTICE OF DISMISSAL PURSUANT
 ZAKHARY, an individual; 8402 PROPERTIES, LLC, a                            TO FEDERAL RULES OF CIVIL
 California limited liability company                                           PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    ✔ This action is dismissed by the Plaintiff(s) in its entirety.

    G The Counterclaim brought by Claimant(s)                                                                             is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                             is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                                        is
      dismissed by the Claimant(s) in its entirety.

    G ONLY Defendant(s)

                                           ✔ Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         is/are dismissed from (check one) G
         brought by          ADAM   GHADIRI                                                                              .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




    October 19, 2021
                Date                                                  Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)          NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
